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9/20/2024 SEP 94 aad y¥
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ludge Stephanie A, Gallagher ay | USTRICT O a

Re: United States v Steen (1:23-cr-00102), District Court, D. Maryland

Your Honor:

My name is Asher Lovy and | am the Executive Director of ZA’AKAH, which is an organization
dedicated to raising awareness about child sexual abuse in the Orthodox Jewish community. ZA’AKAH
operates as an arm of SNAP, a non-denominational not-for-profit focused on supporting victims of
abuse at the hands of religious and institutional authority figures more generally.

| am writing to you regarding the sentencing of William Zev Steen, who was convicted of the
Sexual Exploitation of a Child in the above-referenced matter. | understand that sentencing is scheduled
for 9/30/2024.

We understand that the defendant has submitted to the court numerous letters of support in an
effort to mitigate his sentence, and that defendant seeks to maintain such letters under a seal of
confidentiality. | am writing this letter to strongly urge your honor not to grant defendant’s motion due
to the extraordinary value of ensuring that the public knows which individuals — and in particular, which
community leaders — will advocate for a convicted sex offender.

As an initial matter, federal criminal proceedings are a matter of public record, and there is a
strong presumption that the public should have access to the records of federal criminal proceedings.
Such an access right is fundamentally grounded in our collective belief that transparency is critical to
justice. A compelling interest would therefore be required to limit such a fundamental public right. For
example, confidential informants can only operate confidentially or their personal safety will be
compromised. Similarly, sexual abuse victims (and to a certain extent, the public) have a compelling
interest in maintaining their anonymity, because of the reduced likelihood of reporting if victims’
identities are made public.

In general, the public should have access to character letters written on behalf of criminal
convicts in order to understand what factors a judge may have considered in sentencing the convict. In
this case, however, the public interest is even greater, and for two primary reasons.

The first concerns the extraordinary breach of trust and authority perpetrated by the defendant,
who was a teacher at a girl’s high school. The defendant’s conduct should be taken even more seriously
when one considers his relationship to the victims. The second concerns the identity of those who
advocate for the defendant, many of whom are rabbis, teachers and other authority figures within
defendant’s community.

Zaakah.org 888-492-2524 info@zaakah.org

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It is difficult for survivors of sexual violence in the general population to disclose and report
abuse. Statistically survivors often take decades before feeling comfortable and safe disclosing and
reporting their abuse. That decision is even more difficult in a tight-knit religious community like the one
the defendant is a part of. A survivor disclosing abuse needs the support of their community, and
knowing whom they can trust to provide that support is crucial to their decision to disclose and report.
There is a significant public interest in survivors being able to make informed decisions about whom
they confide in and rely on for support when going through the difficult process of disclosing and
reporting.

As | have seen many times in my 12 years of assisting survivors, survivors can be driven back into
silence if they confide in an authority figure and find them unsympathetic to their needs or their desire
to report to authorities. It is in the public interest that these disclosures and reports be encouraged as it
helps expose dangerous predators and get them off the street. | therefore respectfully submit that the
effect of allowing this sentencing memo with its attached letters to be sealed could result in survivors
having a more difficult time deciding to disclose, thereby making it more likely that abusers in the
community never face justice. Survivors have a right to and an interest in being as informed as possible
in making decisions about whom to rely upon for support in disclosing and reporting. That interest is not
served by sealing this sentencing memo and the attached letters.

The defendant may be entitled to have his supporters speak for him, but neither he nor they has
any right to shield from the public this critical part of the criminal process. Obviously should there be a
need to shield sensitive information from being exposed to the public there should be appropriate
redactions made.

Sincerely,

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